     Case 3:18-cv-00296-MMD-CLB Document 238 Filed 03/01/21 Page 1 of 3



 1    MCDONALD CARANO LLP
      Rory T. Kay (NSBN 12416)
 2    2300 West Sahara Avenue, Suite 1200
      Las Vegas, NV 89102
 3    Telephone: (702) 873-4100
      Facsimile: (702) 873-9996
 4
      QUINN EMANUEL URQUHART & SULLIVAN, LLP
 5    Alex Spiro (admitted pro hac vice)
        alexspiro@quinnemanuel.com
 6    51 Madison Avenue, 22nd Floor
      New York, New York 10010
 7    Telephone: (212) 849-7000

 8    QUINN EMANUEL URQUHART & SULLIVAN, LLP
      Michael T. Lifrak (admitted pro hac vice)
 9      michaellifrak@quinnemanuel.com
      Jeanine M. Zalduendo (admitted pro hac vice)
10      jeaninezalduendo@quinnemanuel.com
      Aubrey Jones (admitted pro hac vice)
11      aubreyjones@quinnemanuel.com
      865 South Figueroa Street, 10th Floor
12    Los Angeles, California 90017-2543
      Telephone: (213) 443-3000
13
      Attorneys for Plaintiff/Counter Defendant
14    TESLA, INC.

15
                                 UNITED STATES DISTRICT COURT
16
                                          DISTRICT OF NEVADA
17

18
       TESLA, INC.,                                 Case No. 3:18-cv-00296-MMD-CLB
19                           Plaintiff,
              v.
20                                                 TESLA’S NOTICE REGARDING THE
       MARTIN TRIPP,                               EXECUTION OF SETTLEMENT
21                           Defendant.            TERMS; CERTIFICATION OF
                                                   COMPLIANCE
22

23

24     AND RELATED COUNTERCLAIMS
25

26

27

28
     Case 3:18-cv-00296-MMD-CLB Document 238 Filed 03/01/21 Page 2 of 3



 1           Tesla, Inc., hereby submits this Notice, and the certification of compliance attached hereto

 2    as Exhibit A, regarding its compliance with the terms of the confidential Settlement Agreement,

 3    entered between the parties on November 30, 2020.

 4           1.      Destruction of Confidential Materials.        Section 16 of the Protective Order

 5    requires that each party return or destroy all “Discovery Materials” of the other party within 90

 6    days of the final disposition of the case. Accordingly, Tesla has until no later than March 1, 2021

 7    to certify and file with the Court its compliance with the Protective Order. The Protective Order

 8    defines “Discovery Materials” as “all items or information, including from any non-party,

 9    regardless of the medium or manner generated, stored, or maintained (including, among other

10    things, testimony, transcripts, or tangible things) that are produced, disclosed, or generated in

11    connection with discovery or Rule 26(a) disclosures in this case.”        Tesla’s certification of

12    compliance is attached hereto as Exhibit A.

13    DATED this 1st day of March, 2021.

14                                                  QUINN EMANUEL URQUHART &
                                                    SULLIVAN, LLP
15
                                                    By: /s/ Alex Spiro
16
                                                       Alex Spiro
17                                                     51 Madison Avenue, 22nd Floor
                                                       New York, New York 10010
18
                                                       Rory T. Kay (NSBN 12416)
19                                                     MCDONALD CARANO LLP
                                                       2300 West Sahara Avenue, Suite 1200
20                                                     Las Vegas, NV 89102

21                                                     Attorneys for Plaintiff/Counter-Defendant
                                                       TESLA, INC.
22

23

24

25

26

27

28
                                                 Page 2 of 3
     Case 3:18-cv-00296-MMD-CLB Document 238 Filed 03/01/21 Page 3 of 3



 1                                               EXHIBIT A

 2
                                 CERTIFICATION OF COMPLIANCE
 3

 4    I, Anthony Masia, certify as follows:

 5
         1. I am a Staff Litigation Paralegal at Tesla, Inc.
 6

 7       2. I have or caused to be destroyed all physical copies of Martin Tripp’s Discovery Materials,
            including all information Mr. Tripp designated Confidential and Attorneys’ Eyes Only, in
 8          Tesla’s possession;
 9
         3. I have or caused to be deleted all electronic copies of Mr. Tripp’s Discovery Materials,
10          including all information Mr. Tripp designated Confidential and Attorneys’ Eyes Only, on
11          any and all electronic devices Tesla owns, whether or not such devices are currently in
            Tesla’s physical possession, including any back-up of such devices such as on Cloud
12          storage or email.
13

14           I declare under penalty of perjury under the laws of the United States of America that the

15    foregoing is true and correct and that this document
                                                   ocument was executed in Sunnyvale, California,
                                                                                      Californ on

16    March 1, 2021.

17

18                                            ______________________________________
                                                  ____
                                                     _________
                                                             _____
                                                                 ____
                                                                    ______________
19                                                                Anthony
                                                                  A
                                                                  Anthony Masia

20

21

22

23

24

25

26

27

28
                                                 Page 3 of 3
